     Case 2:23-ap-01254-WB    Doc 20 Filed 08/26/24 Entered 08/26/24 14:27:22          Desc
                               Main Document Page 1 of 2


1    LEONARD PEÑA (State Bar No. 192898)
     lpena@penalaw.com
2
     PEÑA & SOMA, APC                                        FILED & ENTERED
3    402 South Marengo Ave.
     Pasadena, California 91101
4    Telephone (626) 396-4000                                      AUG 26 2024
     Facsimile (626) 498-8875
5
                                                              CLERK U.S. BANKRUPTCY COURT
6    Counsel for Plaintiff,                                   Central District of California
                                                              BY gonzalez DEPUTY CLERK
     Carolyn A. Dye, Chapter 7 Trustee
7

8
                                                        CHANGES MADE BY COURT
                             UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                                LOS ANGELES DIVISION
11
                                                 Case No. 2:21-bk-13523 WB
12   In re:                                )
                                           )     Chapter 7
13   URBAN COMMONS, LLC                    )
                                           )
14
                                           )     Adv. No. 2:23-ap-01254 WB
15   CAROLYN A. DYE, Chapter 7             )
     Trustee,                              )     ORDER APPROVING STIPULATION
16                                         )     EXTENDING DISCOVERY DEADLINE
                Plaintiff,                 )     AND CONTINUING PRETRIAL
17                                         )     CONFERENCE
18   v.                                    )     Pretrial Conference Hearing:
                                           )     Date: October 1, 2024
19   JOSEPH FAN, an individual,            )     Time: 2:00 PM
                                           )     Place: 255 E. Temple St.
20                                         )
                Defendant.                               Los Angeles CA 90012
21
                                           )     Ctrm: 1375
                                           )
22

23        The Stipulation By Plaintiff Carolyn A. Dye, Chapter 7
24   Trustee and Defendant Joseph Fan extending the discovery
25   deadline and continuing pretrial conference (“Stipulation”)
26   filed on August 24, 2024 as docket number 19 was duly presented
27   to the court.
28   / / /



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1         For good cause appearing, it is ORDERED that, the
2    Stipulation and all its terms are approved, the discovery
3    deadline is extended to and including October 31, 2024 and the
4    pretrial conference is rescheduled to November 5, 2024 at 2:00
5    p.m. The hearing set for October 1, 2024 at 2:00 p.m. is off
6    calendar.
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25       Date: August 26, 2024
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